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     Yasmin Alicia M. C., a minor child; Joshua G.
14   G.; and Karl Luis G. G., minor child
15                                 UNITED STATES DISTRICT COURT

16                                NORTHERN DISTRICT OF CALIFORNIA

17                                    SAN FRANCISCO DIVISION

18   WILBUR P. G.; WILFREDO BALTAZAR P.                  Case No. 4:21-cv-04457-KAW
     E. a minor child; ERENDIRA C. M.;
19   YASMIN ALICIA M. C. a minor child;                  PROOF OF SERVICE
     JOSHUA G. G.; and KARL LUIS G. G.
20   minor child,
                                                         Judge:       Hon. Kandis A. Westmore
21                  Plaintiffs,
                                                         Date Filed: June 10, 2021
22             v.
                                                         Trial Date: Not yet set
23   UNITED STATES OF AMERICA,
24                  Defendant.
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                                            PROOF OF SERVICE
                                         Case No. 4:21-cv-04457-KAW
     1713361
      Case 4:21-cv-04457-KAW Document 16 Filed 07/02/21 Page 2 of 2



 1                                         PROOF OF SERVICE
 2   I am employed in the City and County of San Francisco, State of California in the office of a
     member of the bar of this court at whose direction the following service was made. I am over the
 3
     age of eighteen years and not a party to the within action. My business address is Keker, Van
 4   Nest & Peters LLP, 633 Battery Street, San Francisco, CA 94111-1809.

 5   On July 2, 2021, I served the following document(s):

 6             NOTICE OF APPEARANCE OF COUNSEL OF HAYDEN RODARTE
 7             NOTICE OF APPEARANCE OF COUNSEL OF BROOK DOOLEY
 8             NOTICE OF APPEARANCE OF COUNSEL OF CHRISTOPHER S. SUN
 9             ORDER GRANTING EX PARTE APPLICATION FOR APPOINTMENT
10             OF GUARDIANS AD LITEM

11             ORDER GRANTING PLAINTIFFS’ ADMINISTRATION MOTION TO
               PROCEED UNDER PSEUDONYMS
12
               CONSENT TO MAGISTRATE JUDGE JURISDICTION
13
               NOTIC OF APPEARANCE OF COUNSEL OF BREE BERNWANGER
14
      by regular UNITED STATES MAIL by placing Copy in a sealed envelope addressed as
15
       shown below. I am readily familiar with the practice of Keker, Van Nest & Peters LLP for
16     collection and processing of correspondence for mailing. According to that practice, items
       are deposited with the United States Postal Service at San Francisco, California on that same
17     day with postage thereon fully prepaid. I am aware that, on motion of the party served,
       service is presumed invalid if the postal cancellation date or the postage meter date is more
18     than one day after the date of deposit for mailing stated in this affidavit.
19   Attorney General                                      United States Attorney
20   U.S. Department of Justice                            Northern District of California
     950 Pennsylvania Avenue, NW                           450 Golden Gate Avenue
21   Washington, DC 20530-0001                             San Francisco, CA 94102

22   Executed on July 2, 2021, at San Francisco, California.
23   I declare under penalty of perjury under the laws of the State of California that the above is true
     and correct.
24

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                                                   Sandy Giminez
26

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                                                       1
                                             PROOF OF SERVICE
                                          Case No. 4:21-cv-04457-KAW
     1713361
